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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES

Date: July 30, 2015            Time in Court: 9:00 A.M.     Judge: BETH LABSON FREEMAN
Case No.: 15-cr-00226-BLF-1 Case Name: UNITED STATES v. Douglas York

Attorney for Plaintiff: Brianna Penna, Jeffrey Schenk
Attorney for Defendant: Graham Archer

 Deputy Clerk: Tiffany Salinas-Harwell             Court Reporter: Irene Rodriguez
                                                   8:37 – 8:42
 Interpreter: n/a                                  Probation Officer: n/a


                                       PROCEEDINGS



Counsel for Plaintiff and Defendant Present.
Defendant Present out-of-custody.

Status Conference held.

Further Status set 08/04/2015 at 9:00 am.
Jury Trial set for 08/24/2015 at 9:00 am.

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                                                                              July 30, 2015



                                                                    Tiffany Salinas-Harwell
                                                          Courtroom Deputy to the Honorable
                                                                      Beth Labson Freeman
